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                                 M A N D A T E

TO THE 275TH DISTRICT COURT of HIDALGO COUNTY, GREETINGS:

Before our Court of Appeals for the Thirteenth District of Texas, on the 14th day of May,
2015, the cause upon appeal to revise or reverse your judgment between

Ricardo Muñoz Sanchez AKA
Ricardo Alonso Sanchez,                                                       Appellant,
                                            v.
The State Of Texas,                                                            Appellee.
CAUSE NO. 13-12-00603-CR                                         (Tr.Ct.No. CR-003-11-E)

was determined; and therein our said Court made its order in these words:

      THIRTEENTH COURT OF APPEALS, having considered this cause on appeal,

concludes that the judgment of the trial court should be AFFIRMED. The Court orders

the judgment of the trial court AFFIRMED.

      We further order this decision certified below for observance.

                                       

WHEREFORE, WE COMMAND YOU to observe the order of our said Court of Appeals
for the Thirteenth District of Texas, in this behalf, and in all things have it duly
recognized, obeyed and executed.

WITNESS, the Hon. Rogelio Valdez, Chief Justice of our Court of Appeals, with the seal
thereof affixed, at the City of Edinburg, Texas this 24th day of September, 2015.




                                                 Dorian E. Ramirez, CLERK
